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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                              Chapter 11

        D.G.W. Holding Corp.                                       Case No. 18-10849

                                    Debtor.
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                                       ORDER DISMISSING CASE

        Upon the oral motion (the “Motion”) of D.G.W. Holding Corp., the debtor and debtor-in-

possession (the “Debtor”), at the initial status conference of this case on May 7, 2018, seeking

dismissal of this Chapter 11 case, and after due deliberation and sufficient cause appearing

therefor, it is

        ORDERED, under 11 U.S.C. § 1112(b) and 305(a), that this case commenced under

Chapter 11 of the Bankruptcy Code be, and hereby is, dismissed; and it is further

        ORDERED, that the Debtor pay to the United States Trustee the appropriate sum

required under 28 U.S.C. §1930 within ten (10) days of the entry of this order and

simultaneously provide to the United States Trustee an appropriate affidavit indicating the cash

disbursements for the relevant periods.

        IT IS SO ORDERED.
Dated: May 14, 2018
       New York, New York

                                                     _____/s/Martin Glenn_______
                                                            MARTIN GLENN
                                                     United States Bankruptcy Judge
